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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

Yiwu Baimei Electronic Commerce Co., Ltd., ​       )​       ​
a Chinese Limited Corporation ​  ​       ​         )​       Case: 24-cv-12074​ ​        ​
​       ​      ​       ​     ​   ​       ​         )​       ​
​       ​      Plaintiff, ​  ​   ​       ​         )​         Judge: Lindsay C. Jenkins
​       ​      ​       ​     ​   ​       ​         )​       ​
​       ​      v. ​    ​     ​   ​       ​         )​       Mag. Judge: Jeannice W. Appenteng
​       ​      ​       ​     ​   ​       ​         )
The Partnerships And ​       ​   ​       ​         )​       ​
Unincorporated Associations ​​   ​       ​         )
Identified On Schedule “A” ​ ​   ​       ​         )
​       ​      ​       ​     ​   ​       ​         )
​       ​      Defendants. ​ ​   ​       ​         )
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                           NOTICE OF VOLUNTARY DISMISSAL
                          AS TO DEFENDANT (NO. 69) cherry fashion

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Yiwu Baimei

Electronic Commerce Co., Ltd. hereby dismisses this action without prejudice against the

following Defendant identified on the Amended Schedule A to the Complaint as to Defendant

(No. 69) cherry fashion.

       Respectfully Submitted this 28th of January, 2025,

​      ​      ​       ​       ​     ​      ​       ​        /s/ Lydia Pittaway
​      ​      ​       ​       ​     ​      ​       ​        Bar No. 0044790
​      ​      ​       ​       ​     ​      ​       ​        Ford Banister LLC
​      ​      ​       ​       ​     ​      ​       ​        305 Broadway - Floor 7
​      ​      ​       ​       ​     ​      ​       ​        New York, NY 10007
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​      ​      ​       ​       ​     ​      ​       ​        Attorney for Plaintiff
